Case 1:22-cv-09866-ER Document 1-4 Filed 11/18/22 Page 1 of 13




                  Exhibit D
             Case 1:22-cv-09866-ER Document 1-4 Filed 11/18/22 Page 2 of 13

                                                                                                   US007 152018B2


(12) United States Patent                                                        (10) Patent No.:     US 7,152,018 B2
       Wicks                                                                     (45) Date of Patent:     Dec. 19, 2006
(54) SYSTEM AND METHOD FORMONITORING                                               6,839,680 B1   1/2005 Liu et al. ...................... 70.5/10
        USAGE PATTERNS                                                             6,915,454 B1* 7/2005 Moore et al. ................. T14? 38
                                                                                   6,934,757 B1 * 8/2005 Kalantar et al. ............ 709,229
(75) Inventor: Tony Wicks, Condon (GB)                                             6,944,797 B1 * 9/2005 Guthrie et al. ................ T14/45
                                                                                   6,961,750 B1* 11/2005 Burd et al. ....            ... 709,203
(73) Assignee: Searchspace Limited, London (GB)                                    6,970,933 B1* 11/2005 Masters .....                ... TO9,229
                                                                             2001/0047397 A1* 11/2001 Jameson ........           ... TO9,217
(*) Notice:          Subject to any disclaimer, the term of this             2002.0062367 A1* 5, 2002 Debber et al. .           ... 709,224
                     patent is extended or adjusted under 35                 2002/0136204 A1* 9, 2002 Chen et al. ................. 370,352
                     U.S.C. 154(b) by 0 days.
(21) Appl. No.:           10/499,578                                                                    (Continued)
                                                                                           FOREIGN PATENT DOCUMENTS
(22) PCT Filed:           Dec. 18, 2002
                                                                            EP                1 O2O 804          T 2000
(86). PCT No.:            PCT/GB02/05772
        S 371 (c)(1),                                                                                   (Continued)
        (2), (4) Date: Nov. 4, 2004                                                            OTHER PUBLICATIONS
(87) PCT Pub. No.: WO03/056430                                              “What are cookies?” Internet Cookies. The U.S. Department of
                                                                            Energy Computer Incident Advisory Capability, No. I-034, Mar. 12,
        PCT Pub. Date: Jul. 10, 2003                                        1998, pp. 1-10.
(65)                Prior Publication Data                                                          (Continued)
        US 2005/0066O11 A1     Mar. 24, 2005                                Primary Examiner Carol S. W. Tsai
                                                                            (74) Attorney, Agent, or Firm Fulbright & Jaworski LLP
(30)          Foreign Application Priority Data
                                                                            (57)                       ABSTRACT
  Dec. 21, 2004 (GB) ................................. O130744.6
(51) Int. Cl.                                                               A method of monitoring user usage patterns of a system,
        G06F 5/16               (2006.01)                                   comprising the steps of providing at least one state object
(52) U.S. Cl. ...................... 702/186; 709/203; 709/217;             (180), the object including a profile representative of user
           709/218; 709/219; 709/223; 709/224; 709/226;                     usage; Storing the state object at a client location (110);
                                                         709/229            passing, to a central server (120), the state object with each
(58) Field of Classification Search ..................... None              Subsequent interaction initiation; and receiving, from the
     See application file for complete search history.                      central server, the state object along with the response (170)
(56)                    References Cited
                                                                            of the central server, wherein the profile is modified to reflect
                                                                            the interaction between client location and central server.
                 U.S. PATENT DOCUMENTS                                      The present invention ides a system and a method for
                                                                            monitoring user usage patterns, and is particularly Suited to
       5.948,061 A * 9/1999 Merriman et al. .......... TO9,219              use in Internet and World Wide Web applications.
       6,460,071 B1 * 10/2002 Hoffman ..................... TO9,203
       6,757,900 B1* 6/2004 Burd et al. ................. T19.316
       6,792,607 B1 * 9/2004 Burd et al. ................. T19.316                           23 Claims, 3 Drawing Sheets

                                        O                                                                 120

                                  COMPUTER                                                          COMPUTER
                                     WEB                               80             60               WEB
                                  BROWSER                                                             SERVER
                                                                  COOKE

                                                                      HTML


                                                              170             90
          Case 1:22-cv-09866-ER Document 1-4 Filed 11/18/22 Page 3 of 13


                                                        US 7,152,018 B2
                                                                  Page 2

              U.S. PATENT DOCUMENTS                                    WO       WO 2000,75827            12/2000
2002fO161659 A1 * 10, 2002 Veilleux et al. ............... 705/26                        OTHER PUBLICATIONS
2002fO198966 A1* 12/2002 Jenkins ..........               709,219
2003/00521.65 A1*      3, 2003 Dodson ...                  235,381     European Search Report Issued for GB 0130744.6, dated Jul. 31.
2003/0055530 A1*       3, 2003 Dodson ......                 700,231   2002.
2005/O120091 A1*       6, 2005 Casais et al. ............... 709/217   Hensley, P., “Proposal for an open profiling standard”. Internet
                                                                       article. Online Jun. 2, 1997, retrieved on May 10, 2004 (pages).
                                                                       Cingil, I et al., “A broader approach to personalization'. Commu
           FOREIGN PATENT DOCUMENTS                                    nications of the ACM, Aug. 2000, vol. 43, No. 8 (pp. 136-141.
EP            1 O74929            2, 2001
                                                                       Cingil, I “Supporting global user profiles through trusted authori
EP            1 130 525           9, 2001                              ties.” Sigmod Record, Mar. 2002, vol. 31, No. 1; pp. 11-17.
EP            1 244 O16           9, 2002
                                                                       International Search Report Issued for PCT/GB/02/05772, dated
                                                                       May 26, 2004.
WO         WO 97.26729            7/1997
WO         WOOO,75827            12/2000                               * cited by examiner
    Case 1:22-cv-09866-ER Document 1-4 Filed 11/18/22 Page 4 of 13


U.S. Patent                  Dec. 19 9 2006   Sheet 1 of 3   US 7,152,018 B2




     02|      W0?HElfLTd|N                    3|X0 TWILH
Case 1:22-cv-09866-ER Document 1-4 Filed 11/18/22 Page 5 of 13
Case 1:22-cv-09866-ER Document 1-4 Filed 11/18/22 Page 6 of 13
           Case 1:22-cv-09866-ER Document 1-4 Filed 11/18/22 Page 7 of 13


                                                    US 7,152,018 B2
                              1.                                                                  2
   SYSTEMAND METHOD FORMONITORING                                  identifiers are also used to build aggregate historical details
           USAGE PATTERNS                                          of URLs accessed and other such statistics. This information
                                                                 can then be used for marketing purposes to infer the interests
   This invention relates generally to the monitoring, record of users and for the generation of targeted web page content.
ing and analysis of user activity. In particular the invention      In some environments the use of unique cookies for user
relates to a method to create and store a profile of user identification         purposes is undesirable, because it reduces the
activity and a system for doing so.                              anonymity     with which users can access resources. Unique
   Usage of the Internet and the World-Wide-Web (“the
web”) has become commonplace. The web applies a client user            identification is also unnecessary in many cases where
server computing architecture, where data is stored on server 10 the requirement is to target content to users based on general
machines and can be requested and transferred to a user's characteristics, or profiles, of activity rather than on indi
computer. Users generally request pages through the use of vidual characteristics. The computational requirements to
computer applications known as “browsers', which are classify and extract details of users based on a single unique
available for a range of computing devices, from desktop or identifier, combined with the storage requirements to pro
personal, computers to mobile phones and Personal Digital 15 cess past histories, may also be undesirable. Further, Such
Assistants (PDAs). The most common protocol used for processing cannot benefit from web page caches, or similar
communication between web clients and web servers is the         methods which speed access to site content, because all
HyperText Transfer Protocol (HTTP). Documents are com processing associated with the identification of the user
monly transferred in Hypertext Markup Language (HTML) identifier must be performed by the originating web servers.
format that allows content to be expressed for display in the       In accordance with the present invention there is provided
client web browser. Other data transfer formats are also in      a method of monitoring user usage patterns of a system,
common use. HTML and other formats also allow the web            comprising the steps of providing at least one state object,
browser to retrieve and embed computer language scripts, the object including a profile representative of user usage;
commonly termed Dynamic HyperText Markup Language storing the state object at a client location; passing, to a
(DHTML), that allow additional client side programmable 25 central server, the state object with each Subsequent inter
behaviour to be performed.                                       action initiation; and receiving, from the central server, the
   HTTP was originally a stateless transfer method, in that state object along with the response of the central server,
servers responded to each client request without relating the wherein the profile is modified to reflect the interaction
request to previous or Subsequent requests. Internet standard between client location and central server.
RFC2029 introduced an extension to the HTTP protocol that 30 Preferably the profile includes at least one key and
allows the server to store a state object on the client browser,
and to retrieve and change this object during subsequent value-field           pair. The key is an identifier of a particular
                                                                 interaction type, and the value-field comprises information
transfers. This object, often referred to as a cookie, allows a relating to that interaction. In a simple embodiment the
stateful session (a session during which details are retained value-field would contain a count of the number of occur
and shared between a client and server) between the client 35 rences of that particular interaction type. In addition to an
and server systems that can be used to track and identify interaction count the value-field may contain a time com
further HTTP requests. This approach is in widespread use ponent denoting the time at which the count in the value
and allows managed client-server sessions, such as those field was last modified and may also contain a second time
found in web shopping systems. Cookies can be exchanged component denoting the time that the key and value-field
during any HTTP transfer, assuming the browser Supports 40
the capability or that the capability is not disabled. This was       first created. In other implementations additional value
                                                                 field components may be used for other operational pur
includes the request and transfer of embedded HTML docu poses.
ment content, such as image files. The scope of access by           Preferably, at least one state object is provided by the
which servers can read and change cookie Values can be central
controlled by Uniform Resource Locator (URL) path and 45 and theserver     client
                                                                                  during the first interaction between the server
                                                                                  location. More preferably, the state object is
Internet domain parameters. Cookies can be set and updated
by server side processes or through DHTML, or similar, provided as a part of the central server's response to a
Scripts embedded in web pages.                                   request for resources/information submitted by the client
   Numerous Internet sites use cookies to personalise web location.
page content, to remember user or password details for 50 Preferably, the modification of the profile includes; pro
future site visits, for session management in on-line sales, to viding at least one further state object, the further state
track web page usage and for the targeted delivery of content object comprising one or more key and value-field pair, and
and advertisements. A common practice is for a server to storing at least one further state object at the client location.
place a unique identifier in the cookie on a client's machine Preferably, at least one further state object is provided by the
when that machine first accesses the server. This allows the 55 central server. The modification of a profile may include one
browser being used by the user to be identified during or more of incrementing the count component of at least one
Subsequent requests. If a user then Submits personal infor key and value-field pair and modification of the time com
mation Such as name, address or e-mail details, then, using ponents of at least one value-field; adding at least one further
this process, the identifier can be used to recognize the actual key and value-field pair to the profile; and removing one or
user. Additional information such as the IP address or 60 more key and value-field pair from the profile
domain name of the user's computer, the browser type and            Preferably, modification of the profile is carried out within
version, the client operating system, the Internet service the central server. Alternatively, the modification of profiles
provider, the local machine time and the URL of the data is effected by one or more scripts within or included in
being accessed can also be collected and audited during the information/resources provided to the client location by the
HTTP transfer. This allows geographical and demographical 65 central server, or one or more program executed at the client
information, that can be used for user identification and        location, thus precluding manipulation of the profile by the
targeting of specific content, to be derived. The unique SeVe.
           Case 1:22-cv-09866-ER Document 1-4 Filed 11/18/22 Page 8 of 13


                                                    US 7,152,018 B2
                         3                                                                         4
  In a preferred embodiment of the present invention,               groupings. The invention is computationally efficient in that
interaction between the client location and the central server      profile details are stored and updated on the client machine,
occurs via the internet, or other analogous means.                  rather than the server machine, and, unlike other systems,
   Preferably, the central server further audits the state object   does not require database storage and lookup on the server
provided to it. Preferably, the central server performs analy       side, since the profiles are readily available from the client
sis on the audited profile in order to direct services and/or machine.
information suited to the profile to the client location.               The invention also has the advantage that, in one imple
   Also in accordance with the present invention there is mentation where client side calculation is used to generate
provided a module configured to monitor user usage patterns and update the profiles, web pages can be accessed through
within a system, the module resident within the system, the 10 web page caches or similar services and direct access to the
system comprising: a central server; and at least one client originating server is not required.
location; and the module comprising: means, within the                  Since profile information is held on the client machine it
central server, for generating at least one state object; and is possible that a user may modify details of the profile or
means for modifying a profile representative of system remove it completely. Obfuscation or other means can be
usage included in the state object to reflect interactions 15 used to deny user access to the content held. However, in
between the central server and client location, wherein the at       web environments, where very large Volumes of users access
least one state object is stored at the client location and is resources, it is unlikely that any errors deliberately intro
passed between the client location and central server during duced into profiles being considered would detrimentally
interactions.                                                        effect system performance. Indeed, statistical, or other meth
   Preferably, the profile includes at least one key and ods, could be used to reduce potential sources of error.
value-field pair. In one embodiment the value-field contains            The previous discussion sets forth a particular application
an interaction count. Alternatively, the value-field contains in which there exist problems one or more of which are
an interaction count and components relating to the time of addressed by the present invention. However the techniques
last modification of the interaction count and/or the time of        and principles discussed hereinafter apply to other environ
creation of the key and value-field.                              25 ments that apply similar mechanisms. Similar methods, for
   In a preferred embodiment, the means for modifying example, could be used in any client and server computing
includes: means for incrementing a count which embodies environment, in card (or other forms) of loyalty scheme, or
the value-field of at least one key and value-field pair of the to monitor any environment where state information is
profile; means for adding at least one further key and retained by a user and where this state can be updated as
value-field pair to the profile; and means for removing one 30 users access different features or areas of a system.
or more key and value-field pair from the profile. Preferably,          A specific embodiment of the present invention is now
modification of the profile is carried out within the central described, by way of example only, with reference to the
server. Alternatively, modification of the profile is effected accompanying drawings, in which:
through one or more Scripts within or included in informa               FIG. 1 is a block diagram showing one implementation of
tion/resources provided to the client location by the central 35 the system of the present invention and including a number
server, or by one or more program executed at the client of example communications within it; and
location, thus precluding manipulation of the profile by the            FIGS. 2a and 2b illustrate communications between
SeVe.                                                                server and user location during a first interaction and during
   In a preferred embodiment of the present invention, a repeat interaction, respectively.
interaction between the central server and client location 40           The present invention is described in terms of an Internet
occurs via the internet, or other analogous means.                   web environment where cookies, or other state objects, are
   Preferably, the server further includes means for auditing exchanged. Those skilled in the art will understand that the
the profile and for analysing the audited profile of user invention may be applied in a wide range of client and server
usage. Such that information/services Suited thereto may be computing environments or a multitude of other business
provided to the client location by the central server.            45 environments. For example, the present invention may be
   As such, the present invention provides an automated implemented in any general computer or computing envi
system and method for the monitoring of user activity in ronment and in a multitude of business types and areas.
environments where there is the exchange and storage of                 Description in the above terms is for convenience only. It
state information between client and server systems, such as is not intended that the invention be limited in application to
web and Internet environments. The invention allows pro 50 this example environment, as is stated above.
files of user activity to be built based on a range of                  In general, but not exclusive, terms the invention can be
parameters, which may include general classifications of implemented as shown in FIG. 1. FIG. 1 shows a block
page content previously viewed, the URLs of pages viewed, diagram of a client computer 110 running a web browser
or other details that might be used to classify or subdivide application 130, and a server computer 120 operating with
groups of web pages or web sites such as input from controls 55 a web page server application 140. The diagram represents
associated with one or more pages, e.g. buttons and active the sequence associated with a web page transfer between
images (image maps). In a simple form the profile may the server 120 and client 110 systems. A web page request
comprise a histogram containing counts of web page types             150 is sent to the web server 140, identifying content/
that have been accessed by a user. This information can then resources to be transferred. This is done through the use of
be used to determine the specific pattern of interests for a 60 a URL. The web server locates the web page content/
user and can be used to target advertisements, or other resources, or dynamically generates the content/resources,
content forms, when a site is re-visited.                            and a response 160 returns an HTTP result 170 to the
   The site serving the web pages can also audit the profiles requesting client. This result contains header information
and these aggregations can be used to derive typical or according to the HTTP protocol, cookie information 180 and
average profiles for all users or groups of users of a system. 65 web page content 190. This initial request assumes that there
Profile aggregations at the server may include the consid is no cookie relating to this server already set on the client
eration of demographic or other information to create profile browser.
           Case 1:22-cv-09866-ER Document 1-4 Filed 11/18/22 Page 9 of 13


                                                    US 7,152,018 B2
                                5                                                                  6
   When the next request for web page content is made from time at which the key value-field pair was changed. In this
client to server the cookie initially sent by the server may be case the cookie would take the following form:
sent, according to the guidelines of Internet standard                PROFILE=10O2/10/TIME 1: 1899 11 FTIME2:234.5/5/
RFC2029, back to the server. In this way cookies are                     TIME3:7783f2O/TIME4
transferred between client and server during Subsequent               In another alternate implementation of the invention, a
requests, and between server and client during Subsequent time of creation specifier may be added to each value-field.
responses, as may be seen in FIGS. 2a and 2b. Additional This specifier will detail the time at which the key and
cookies can be transferred and the content of existing value-field was created. In this case the cookie would take
cookies can be changed or deleted. Changes to cookies can the following form:
happen as part of the server processing as indicated by the 10 PROFILE=10O2/10/TIME1FTIME 1 creation: 1899/1f
function boxes 202.204 in FIGS. 2a and 2b. Alternatively,                TIME2/TIME2creation:
Such changes may be made as a part of the client side                    234.5/5/TIME3/TIME3 creation:7783f2O/TIME4f
processing. In this situation, the changes may be initiated by             TIME4creation
and/or carried out by a part of one of more scripts down              Of course, a time of creation specifier may be added to
loaded with the information/resources from the server for 15 value fields containing only interaction counts also.
example, as will be described further below.                          An efficient time representation is a long integer count of
   In the course of operation of the invention, cookies, or seconds or milliseconds, based upon some epoch.
groups of cookies, associated with particular areas of a web          Through the use of Scripts within web pages, or included
site are set and updated on the client browser. In one in web pages, it will be understood that it is possible to
implementation of the invention, the value associated with a update and manipulate the contents of the cookie profile
cookie comprises a set of key and value-field elements or without requiring any server side manipulation. In this case,
pairs. In another implementation, multiple cookies could be each web page may call the same function in a single script
used to retain the same information. In general terms the key file, which passes an enumerated identity number that clas
and value-field elements or pairs represent an identifier and sifies the web page content, to update the profile cookie
a count indicating the number of times that resources 25 value. Alternatively, changes may be initiated and/or carried
associated with the identifier have been accessed. For             out by computer programs running on the client, such as
example, the key identifier may relate to the URL of pages ActiveX controls or web-browser plug-ins.
accessed, but would more generally relate to broad classi             As a user browses multiple pages and HTTP requests are
fications associated with web page content, such as sport (or made for additional content, the profile of user behaviour
areas of sport, Such as football, hockey, tennis), entertain 30 held in the cookie on the client browser will change to
ment, news, science, etc. Generally the key identifier will be represent the user pattern of interests. This pattern is then
an enumerated integer (although names could be used), audited, when the cookie is sent as part of a request to a web
where each integer relates directly to a content type. Typi server or may be accessed and used from within the web
cally, profiles in the invention will be represented in cookies page or otherwise by the client computer. It is therefore
in the following manner:                                        35 possible to perform statistical analysis on the profile in order
   PROFILE=10O2/10:234515:7783f2O                                  to identify content most suitable to be served to the user. In
   The cookie contains a sequence of key/value-field pairs this way targeted content or targeted advertising content can
separated by a semi-colon. In this example there are three be served to a user, in response to web page requests. A
entries, for content classifications 1002, 2345 and 7783, with     simple example of this targeting would be the ordering of
value-fields comprising interaction counts of 10, 5 and 20 40 page content or navigation details on a page in accordance
respectively. Any suitable separator characters could be used with preferences or weighted importance expressed in the
between each key and value-field or between the key and profile.
value-field pairs. When an HTTP request is made to a server,          Since the profile of user activity is held in a cookie on the
the client browser sends the existing profile as a part of the web browser of the client computing device, server-side
request:                                                        45 storage requirements are minimised. According to
   Cookie: PROFILE=1002/10:234.5/5:7783/20;                        RFC2029, each cookie can hold up to 4 kilobytes of infor
   The server can then amend value-fields as part of the mation, which is sufficient to store at least 120 key and value
HTTP response, where content types are already repre field elements or pairs (dependent upon the precise make-up
sented, as follows:                                                of the components of the value-field). If there is a require
   Setookie: PROFILE=1002/10:234.5/6:7783/20;path=/; 50 ment to extend the profile beyond these limits, the profile
      expires–Thursday,           5-Dec.-2002         12:15:00;    can be extended across multiple cookies, e.g. PROFILE1
      domain acme.com                                              PROFILE2. Increasing the granularity of the profile in this
   or add to the profile where a new content type is presented way will improve the ability of the system to classify user
in the response, as follows:                                       behaviour. However, where there is limited storage, older
   SetCookie:PROFILE=1002/10:1899/1:234.5/5:7783/20; 55 key and value pairs may be removed in order to make room
      path=/:expires–Thursday, 5 Dec.-2002 12:15:00; for newer values. In this case, the older values, or older
      domain acme.com                                              values with Small value counts, are removed in preference to
   In these cases the “domain and “path’ attributes are used newer values.
to control the operational scope of the cookies whilst the            In another form of the invention, a second cookie is set on
“expires’ attribute is used to define the time at which the 60 the client browser and operates in an identical fashion to that
cookie becomes invalid, according to the standard defined in described above. A second profile included within the sec
RFC2029. The “expires' attribute will generally be set ond cookie may be audited and removed by server systems.
sufficiently in the future such that the cookie never expires,     Periodic removal in this way allows server systems to track
or the attribute could be updated so that the cookie expires usage between defined time periods associated with initial
a given time period after the last access was performed. 65 population and removal of the profile. Removal can also be
   In an alternate implementation of the invention, a time limited to be performed only when particular resources are
specifier may be added to the value-fields detailing the last accessed. Thus, user interests associated with access to that
          Case 1:22-cv-09866-ER Document 1-4 Filed 11/18/22 Page 10 of 13


                                                    US 7,152,018 B2
                            7                                                                       8
resource can be measured for a population of users. As an              2. A method as claimed in claim 1, wherein the profile
example, a client browser may have the following profile            includes at least one key and value-field pair.
information on access to a given server                                3. A method as claimed in claim 2, wherein the key is an
  PROFILE=10O2/1OFTIME 1:1899/1 FTIME2:234.5/5/                     identifier of a particular interaction type, and the value-field
     TIME3:7783f2O/TIME4                TRANSIENT PRO               contains a count of the number of occurrences of that
     FILE=10O2A1 OFTIME 1:189971 FTIME2                             particular interaction type.
   Following access to the server, and auditing of the tran           4. A method as claimed in claim3, wherein the value-field
sient profile, the profiles might become:                           further contains at least one of a time component detailing
  PROFILE=10O2/11/TIME 1: 189971 FTIME2:234.5/5/                    the last modification of the interaction count and a time
    TIME3:7783f2O/TIME4 TRANSIENT PROFILE=                     10
                                                                   component detailing the creation of the key and value-field.
   In effect, a nontransient profile provides an historical          5. A method as claimed in claim 1, wherein the at least one
record of user interests over an extended period. It is the state       object is provided by the central server during a first
purpose of a transient profile to allow recent user interests to interaction   between the server and the client location.
be identified associated with a particular resource and thus         6. A method as claimed in claim 5, wherein the state
to avoid re-counting users who have previously accessed the 15 object     is provided as a part of the central server's response
resource (i.e. outside the period of interest). If a non to a request
transient profile were utilised for this purpose, previous client location.for resources/information submitted by the
access by users would be counted and an unrealistic count
would be produced.                                                   7. A method as claimed in claim 2, wherein the step of
   It is thus clear that the present invention may be imple modifying the profile includes:
mented Solely through the use of server side processing, or          providing at least one further state object, wherein the at
through the combination of client and server side process               least one further state object includes a further profile
ing. Where server side processing is used exclusively there             representative of user usage, the further profile com
is no requirement for the use of client side processing, other          prising one or more key and value-field pair, and
than that involved in the transfer and storage of cookie 25 storing the at least one further state object at the client
information. Where client side processing is used for the               location.
maintenance and update of profile data there is no require           8. A method as claimed in claim 7, wherein the at least one
ment for access to the server originating the page content, further state object is provided by the central server.
and the client can therefore be served through web caches,           9. A method as claimed in claim 4, wherein the modifi
or proxy servers. This makes the invention highly scalable 30 cation of the profile includes one or more of:
and very efficient. However, direct server access will be            incrementing the count component of the at least one key
required in order to audit profile information, unless such             and value-field pair;
auditing is carried out directly by the client application.
   The present invention is particularly, but not exclusively        updating    a time component of the at least one key and
as has already been set forth, suited to Internet environments  35      value-field  pair;
for the monitoring of web pages and similar content forms.           adding at least one further key and value-field pair to the
The profiles generated by the invention audit a user's system           profile; and
behaviour and can be used to infer a users pattern of                removing one or more key and value-field pair from the
interests. In this way, the invention can be used to build              profile.
profiles of user behaviour for those using Internet services 40 10. A method as claimed in claim 1, wherein modification
Such as web sites, for the generation of targeted page of the profile is carried out within the central server.
content, such as targeted advertising, for the targeted sale of      11. A method as claimed in claim 1, wherein interaction
goods or services and for logging and audit purposes. The between            the client location and the central server occurs via
invention has the advantage of anonymity, robustness and the Internet.
reduced server side storage requirements.                       45
                                                                     12. A method as claimed in claim 11, wherein the central
   It will of course be understood that the present invention server      further audits the state object/profile passed to it.
has been described above purely by way of example, and
that modifications of detail can be made within the scope of         13. A  method as claimed in claim 12, wherein the central
the invention.                                                     server performs analysis on the audited profile in order to
                                                               50   direct at least one of services and information Suited to the
  The invention claimed is:                                         profile to the client location.
  1. A method of monitoring user usage patterns of a                   14. A module configured to monitor user usage patterns
system, comprising the steps of                                     within a system, the module resident within the system, the
  providing at least one state object, the object including a       system comprising:
     profile representative of user usage;                    55      a central server, and
  storing the state object at a client location;                      at least one client location;
  passing, to a central server, the state object with each
     Subsequent interaction initiation; and                           the module comprising:
  receiving, from the central server, the state object along            means, within the central server, for generating at least
     with the response of the central server;                 60           one state object; and
  wherein the profile is modified, to reflect the interaction           means for modifying a profile representative of system
     between the client location and the central server, by                usage included in the state object to reflect interac
     one of one or more Scripts within or included in                      tions between the central server and the client loca
     information/resources provided to the client location by              tion, wherein modification of the profile is effected
     the central server, and one or more programs executed 65              through one of one or more Scripts within or included
     at the client location, thus precluding manipulation of               in information/resources provided to the client loca
     the profile by the server.                                            tion by the central server, and one or more programs
          Case 1:22-cv-09866-ER Document 1-4 Filed 11/18/22 Page 11 of 13


                                                    US 7,152,018 B2
                                                                                                 10
         executed at the client location thus precluding             21. A  computer   program   product  comprising a computer
         manipulation of the profile by the server;                readable medium having stored thereon computer program
   wherein the at least one state object is stored at the client means for causing a computer to monitor user usage patterns
      location and passed between the client location and within a system, comprising:
      central server during interaction therebetween.                code for providing at least one state object, the object
   15. A module as claimed in claim 14, wherein the profile             including a profile representative of user usage;
includes at least one key and value-field pair.                      code for storing the state object at a client location;
   16. A module as claimed in claim 15, wherein the value            code for passing, to a central server, the state object with
field contains an interaction count.                                    each Subsequent interaction initiation; and
   17. A module as claimed in clam 15, wherein the means 10 code for receiving, from the central server, the state object
for modifying includes:                                                 along with the response of the central server, and
   means for incrementing a count which embodies a value             code for wherein the profile is modified, to reflect the
      of the at least one key and value-field pair;                     interaction between the client location and the central
   means for updating a time component of the at least one              server, by one of one or more scripts within or included
      key and value-field pair;                                 15      in information/resources provided to the client location
   means for adding at least one further key and value-field            by the central server, and one or more programs
      pair to the profile; and                                          executed at the client location, thus precluding manipu
   means for removing one or more key and value-field pair              lation of the profile by the server.
      from the profile.                                              22. A method as claimed in claim 8, wherein the further
   18. A module as claimed in claim 14, wherein modifying state object is audited and removed after a specified time
the profile is carried out within the central server.              period or in response to an access by the client of a specified
  19. A module as claimed in claim 14, wherein interaction           SOUC.
between the central server and the client location occurs via         23. A module as claimed in claim 16, wherein the value
the Internet.                                                      field contains at least one of a time component detailing the
   20. A module as claimed in claim 14, further including 25 last modification of the interaction count and a time com
means for auditing the profile, and for analyzing the profile ponent detailing the creation of the key and value-field.
or user usage, such that information/services Suited thereto
is provided to the client location by the central server.                           k   k   k   k  k
                Case 1:22-cv-09866-ER Document 1-4 Filed 11/18/22 Page 12 of 13

                UNITED STATES PATENT AND TRADEMARK OFFICE
                      CERTIFICATE OF CORRECTION

PATENT NO.            : 7,152,018 B2                                                               Page 1 of 1
APPLICATIONNO. : 10/499578
DATED                 : December 19, 2006
INVENTOR(S)           : Tony Wicks
        It is certified that error appears in the above-identified patent and that said Letters Patent is
        hereby corrected as shown below:

                 On the cover page: Item (30)

                On the cover page, located under Foreign Application Priority Data (left hand
        column), delete “Dec. 21, 2004 and replace with --Dec 21, 2001--.
                 In the specification:

                 Column 5, Line 50 delete “Setookie' and replace it with-SetCookie--.




                                                                    Signed and Sealed this
                                                                 Sixth Day of March, 2007


                                                                                   WDJ
                                                                              JON. W. DUDAS
                                                          Director of the United States Patent and Trademark Office
                  Case 1:22-cv-09866-ER Document 1-4 Filed 11/18/22 Page 13 of 13

                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                  : 7,152,018 B2                                                                                       Page 1 of 1
APPLICATIONNO.              : 10/499578
DATED                       : December 19, 2006
INVENTOR(S)                 : Wicks

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:

         On the title page, item (86), under "371 (c)(1), (2), (4) DATE:”, in Column 1, Line 1,
         delete “Nov. 4, 2004 and insert -- Jun. 21, 2004 --, therefor.

         On the title page, item (57), under “ABSTRACT, in Column 2, Line 10, delete “ides
         and insert -- provides --, therefor.
         In Column 3, Line 54, delete “Subdivide and insert -- Sub-divide --, therefor.

         In Column 5, Line 36, delete “10:234515: and insert -- 10:234.5/5: -, therefor.

         In Column 6, Line 3, delete “1899.11 and insert -- 1899/1 --, therefor.

         In Column 7, Line 11, delete “nontransient and insert -- non-transient --, therefor.

         In Column 7, Line 18, delete “unrealistic and insert -- unrealistic --, therefor.

         In Column 7, Line 38, delete “users and insert -- users --, therefor.




                                                                                        Signed and Sealed this
                                                                                       Third Day of July, 2012


                                                                                                    David J. Kappos
                                                                               Director of the United States Patent and Trademark Office
